Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.692 Filed 03/18/22 Page 1 of 18

EXHIBIT 1
Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.693 Filed 03/18/22 Page 2 of 18

CONFIDENTIAL, WORK PRODUCT, NOT SUBJECT TO FOIA

TO: Prosecutor Kym Worthy

FROM: Carole Stanyar . .
RE: Alexandre Ansari 7
DATE: 2/14/19

Alexandre Ansari was charged in two separate 1“ degree murder/A WIM cases.

Date: 9/22/12, 6:44 p.m.

Charge: 1* degree murder (1 count); AWIM (2 counts); FF (1 count)

Location: On Cicotte Street, north of Michigan Avenue, Detroit

Victims: Ileana Cuevas (15), the deceased; Rosalind Barley and
Miguel Figueroa (injured by gunfire)

Perpetrator: . 300 pound BM, dreadlocks, black hoody, w/AK 47

Verdict: Hung jury followed by conviction as charged

Sentence: Mandatory life

Date: 9/26/12, 12:05 a.m.

Charge: ’ 1° degree murder (1 count); AWIM (1 count): FF (1 count)

Location: On Otis Street, South of Michigan Avenue, Detroit

Victims: Tommy Edwards (deceased); Erika Flores (unharmed)

Perpetrator: Black male, dark clothing (Flores saw silhouette only)

Verdict Acquittal

Overview:

These two cases must be viewed together inasmuch as they provide the
background and support for the recommendation of the CIU. The murders were
set in motion after Rosalind Barley and her new boyfriend, Miguel Figueroa
allegedly stole 3.5 grams of raw heroin from Barley’s ex-boyfriend, Jose Sandoval,
in the Spring/Summer of 2012. Sandoval, a known drug dealer with significant
ties to a Mexican Cartel, was being investigated by the DEA at the time of the
murders. As a result, trackers were placed on two of his cars and his cell phones
were confiscated when he was arrested for a violation of his supervised release on
federal drug charges. A recent CIU review of the tracker and phone data, as well
as new witness interviews, contribute significantly to our conclusion that Jose
Sandoval arranged for these killings, and that persons other than Mr. Ansari carried

them out.
Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.694 Filed 03/18/22 Page 3 of 18

Main characters in the CIU investigation:

Alexandre Ansari:

Jose Sandoval

Ernest Lester

Rosalind Barley

Tleana Cuevas

Miguel Figueroa

“Tommy” Edwards

Erika Flores

The defendant. He has no ties with any of the

people listed below. He has passed a polygraph by our
examiner. He was 5'11", 175 pounds. He was a low
low-level drug dealer operating in the area of the

the homicides. He lived in northwest Detroit.

Person believed by CIU and DEA to have ordered and
orchestrated both crimes. He was never charged.

Probably the getaway driver, 9/22/12, never charged.
Tatoos include “MURDER”, “E”, (Sandoval’s nickname
for him), and “COBRAS” (a Puerto Rican gang name).

An AWIM victim, shot in the first homicide (her sister
Ileana Cuevas, was killed), current girlfriend of Miguel
Figueroa, ex-girlfriend of Jose Sandoval, and is suspected
of orchestrating the theft of 3.5 kilograms of raw heroin
from Jose Sandoval.

The deceased in the first homicide, 15 years old, sister of
Rosalind Barley, believed to have been shot by accident.

New boyfriend of Barley, is believed to have stolen 3.5
kilograms of raw heroin from Sandoval with Barley’s
help, an AWIM victim in the first homicide.

The deceased in second homicide, brother of Miguel
Figueroa, boyfriend/spouse to Erika Flores.

Tommy’s girlfriend/spouse, sole witness in 2" homicide,
unable to identify/describe the shooter.

Viable shooter suspects, all heavy-set black males, matching witness descriptions,

but never charged:

Tyrone Applewhite

He sent his own photo in a text to Sandoval shortly after
the last homicide, a photo never shown to any witness.
Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.695 Filed 03/18/22 Page 4 of 18

This information was discovered by CIU in October
3018. It was never uncovered by DPD even though cell
phones were available.

Dominic Crawford First suspect of police, was placed in a single array
shown only to Barley with no ID. He lives nearby, anda
text to Sandoval mentions an address close to where
Crawford lives. His home was raided in 2011, an AK-47
and $7000-plus seized. No other evidence linking him
to Sandoval.

Larry Davis A “West Warren Boy”, an early prime suspect in
homicides per a reliable CI tip, second suspect to be
placed in an array by OIC. Not identified by Miguel
Figueroa (who may be intentionally sabotaging the
investigation). Inexplicably, Davis’ photo array was not
presented to any other witness. Other evidence links
Davis to Sandoval. He had his own drug house (likely
supplied by Sandoval), and his apartment is on the
tracker route.

“Solo” Named in CI tip as possible shooter, he fits the
description of scene witnesses (heavy set black male), he
lived on the path of the Sandoval tracker route. No other
evidence linking him to Sandoval.

Witnesses to Getaway on 9/22/12, 6:44 p.m., still daylight that time of year:

Leola Marlow 70 years old, heard shots (at dusl) and saw 300-pound
black male, 40-50 years old, lumbering, pulling
something off his head, fleeing to an awaiting gold
getaway car in the alley behind the shooting scene,
driven by a Mexican male of same approximate age as
Lester. Marlowe’s account matches DEA tracker info.
She stated that the shooter ran east on the alley behind
the scene, and the car traveled north on Gilbert toward
the 1-94 freeway. See Diagram. Marlowe knows
Ansari and says the shooter was not Ansari. She was
never shown an array or a live line-up.

Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.696 Filed 03/18/22 Page 5 of 18

Shawn Lindsey 20-something male, saw heavy-set shooter running
from alley behind the shooting scene, get into getaway
car,a gold Pontiac, four-door, and leave northbound
on Gilbert Street. His account is consistent with both
the Sandoval DEA tracker info and with Marlowe's
account. This witness was recently discovered after
CIU review (Pat Little and CMS) of 2012 DPD scene
reports. He was never shown an array or a live line-up.
He was described in police reports, given to defense,
with his name and identifying characteristics redacted
in defense copy. He did not testify at trial.

CIU findings:

The OIC, Moises Jimenez, in this case has now admitted to deliberately failing to
investigate Jose Sandoval because Sandoval is tied to a powerful Mexican drug
cartel. Jimenez has family in Mexico, and Jimenez feared his family would be
killed. This distorted every aspect of his investigation and the truth-finding
process by:

- concealing from the defense a crucial exculpatory witness (Shawn
Lindsey) who saw the 300- pound shooter (who looks nothing like Ansari),
jumping into getaway car on 9/22/12, fleeing the scene consistent with
other evidence;

- deliberately failing to investigate, or even review, available phone
evidence which would have put Sandoval at the scene of getaway

route, and in contact with the likely getaway driver, and which contained
a digital photograph of a heavy set black male, sent by a heavy set black
male shortly after the second homicide;

- deliberately failing to show arrays of key perpetrator suspects to reliable
scene witnesses (Marlowe and Lindsey);

- advising jurors of an anonymous Crime Stoppers tip that the shooter’s
nickname was “Sosa”, that Ansari’s nickname was Sosa, but excising all
information from the tip that was inconsistent with Ansari being the
“Sosa” person in the tip, a fact that defense counsel failed to point out
(counsel was provided with the complete tip in discovery);

Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.697 Filed 03/18/22 Page 6 of 18

- injecting himself in hallway at a federal detention hearing for Sandoval,
telegraphing advice to Sandoval’s attorney, that he should plead to a drug
conspiracy quickly (possibly to help Sandoval avoid having the homicide
added to the indictment, which would have triggered the death penalty).

- deliberately failing to work with, and actively steering the case away
from, an army of federal law enforcement officials who were trying to
assist DPD in apprehending the perpetrators.

In addition, victims Barley and Figueroa are now believed to have also been
sabotaging the investigation: concealing their theft of Sandoval’s heroin, and
deliberately throwing off the investigation of the real perpetrators by offering
bogus descriptions, and ID’s, of the shooter.

Our CIU investigation dovetails with an extensive 2012 federal investigation of
Sandoval, involving DEA, U.S. Attorneys, ICE, FBI, and Border Patrol — all of
whom have now been interviewed by the CIU. DEA had professionally installed
trackers on two of Sandoval’s recently leased vehicles. In the days prior to the
murders, and on the day of first murder (9/22/12), a tracker showed movement of
one of his cars in and around the route of the 9/22 getaway car,-which suggests
strongly that Sandoval was involved in, and the likely orchestrator of, the murder
of Cuevas and the assaults on Barley and Figueroa. The tracker data is consistent
with phone data showing Sandoval having phone contact with the likely
perpetrators of the murder up to, and in the aftermath of, both murders.

In addition, a combination of tracker data and an eyewitness account show that a
cat similar to Sandoval’s own vehicle passed back through the vicinity of the 9/22
homicide scene, minutes after the shooting, possibly in an attempt to determine if
the planned killing had been carried out by the contract killer.

Appellate and current procedural history:
A skeletal direct appeal was presented by Attorney Jonathan Simon, raising nearly
nothing, and predictably, it failed. Ansari made a pro se request to the CIU, and ~

he filed a 2254 which is pending before Federal Judge Judy Levi.

CIU Investigations and work product completed to date:

Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.698 Filed 03/18/22 Page 7 of 18

A. Procedural steps:

Ansari’s federal habeas was stayed pending our investigation. Ansari was
polygraphed (with our full cooperation using our examiner, paid for by FDO) and
he passed. In cooperation with FDO (Ansari’s counsel on the habeas) and AG
John Pallas (defending the habeas), we have asked for Judge Levy’s assistance in
unearthing confidential investigation documents from federal agencies through the
use of stipulations, motions, subpoenas and protective orders.

B. Investigation:

1. Because of the extensive, contemporaneous federal investigation of Sandoval
for the drug cartel case, I interviewed AUSA Bill Sauget. He recalled the
investigation of the homicide: that a DPD homicide detective was at Sandoval’s
detention hearing and that Steve Fishman had asked why the detective was there.
Sauget also recalled that Fishman remarked at the time, “They’ll never get him on
that.” Sauget was instrumental in clearing the way for CMS to interview federal
DEA agents.

a) Lead DEA Agent Michelin was investigating Sandoval extensively
from 2011 to 2013, and knows the federal file better than anyone. He
is currently assigned to Bogata, Columbia, where he returned my call
in October, 2018. He and DEA Task Force Officer Jay Anderson (on
loan to DEA from Clinton Township) always believed that Sandoval
was behind “the girl’s” killing (they were not told about the second
homicide). Michelin had a tracker professionally installed in
Sandoval’s car, and it was operational through the entire time period
encompassed by these homicides. Michelin had a shooter suspect who
he said was on the tracker route. Both he and Officer Anderson
thought that Barley and Figueroa were not telling the whole story.
They communicated very briefly with DPD Homicide Detective
Moses Jimenez. Michelin, Jimenez and Sandoval were all in the
hallway (we believe at the federal detention hearing in April 2013).
Jimenez told Fishman that Sandoval had “bigger problems” than
“this” case (the federal drug case). Michelin and Fishman appeared to
know each other well. Jimenez convinced Michelin that “they got the
guy”, Michelin recalled Jimenez saying something like “he
confessed” (Ansari did not confess). Having worked

Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.699 Filed 03/18/22 Page 8 of 18

closely with AUSA Sauget, and being fully familiar with Sandoval’s
federal investigation and prosecution, Michelin believes that if AUSA
Sauget had all of our information (information that was available to
Jimenez) Sauget would have charged the killings along with the
pending drug charges in the same federal indictment. But Jimenez did
not keep them informed, he did not ask for their continued help, and
he suggested to Michelin that the case was solved, and that Jimenez
had it covered. Michelin also remembers a bizarre conversation with
Jimenez where Jimenez said that “the fathers” (or something very
melodramatic/ Mafia-like) “had not sanctioned this killing” and so
Sandoval just had to “plead and go do his time” on the federal drug
case — i.e., that was “the solution”. Agent Michelin thought all of it
was “weird”. He has been of great assistance and indicated he would
gladly return to Detroit if needed in court.

b) Agents Brittany Miller, Bill Chamulak and Debbie Brown (3 13-617-
2655) are our contacts for documents and data at the DEA. Miller gave us the
DEA materials requested, including DEA witness interviews and tracker data
summaries. They are trying to locate additional data stored in the DEA’s own
server. See para 8 below. Title II recordings are still available, but that
surveillance stopped on Sandoval’s phone in 2011.

c) On October 5, 2012, Sandoval was arrested on a federal supervised
release violation (grounded on the August 2012 FA on Barley and Figueroa), and
Sandoval’s ten cell phones were seized pursuant to search warrant, with the data
extracted and a report generated by the DEA in 2012. In October, 2018, the
phones themselves were reviewed by CMS. There is considerable relevant
information in the phones, including a very noticeable flurry of phone calls leading
up to each of the two killings, and text messages on the day of the homicide putting
Sandoval nearby both days (and in the exact vicinity of the 9/22/12 killing at the
time it occurred) even though he lived in the Rochester-Troy area. There is also a
text directing Sandoval to go to 5888 Cabot (the address does not exist) but it
would be near Dominic Crawford’s then-residence on Addison. Most significant is
a 13-minute phone call shortly before the 9/22/12 killing, from “E” to Sandoval.
‘Rig Ernest Lester and his tattoos (per MDOC) are “E”, “Murder” and “Cobra”,
Lester fits Marlowe’s description of the getaway driver. On 9/26/12 (hours after
the 2" homicide), there is a text from “Ty” (Tyrone Applewhite) to Sandoval with
the picture of himself (Applewhite), who is a heavy set black male. Sandoval’s
primary phone was extracted again by DPD, using newer software, and that

7

Case 2:20-cv- -
e 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.700 Filed 03/18/22 Page 9 of 18

extraction was sent to Envista Forensics (at our request, FDO paying) to determine
‘f Sandoval’s deleted outgoing texts could still be restored. They cannot be
restored given the age and model of the phone.

d) Agent Herrara, Macomb FBI, said that a proven reliable CI heard the
description of the shooter, and deduced that the shooter might be a person
nicknamed “Solo”, who the Cl described as a heavy-set black male who lived in
the vicinity of the shooting and would have been on the Sandoval DEA tracker
route. Sandoval’s Blue BMW circled the block where Solo supposedly stayed in
the lead up to the 9/22/12 killing. Herrara said he gave this info to two officers at
DPD, including Theo Miller. His notes appear in the homicide file (were not
disclosed to defense). DPD did run the name “Solo” in 2012 in their computer
records, however, the Solo they found is not a heavy-set black male. We could not
find another Solo fitting the heavy-set black male description.

2. The two homicide files and the FA file were reviewed and compared with the
files given to defense counsel. Trial defense counsel was told nothing of any other
suspect despite abundant evidence of same (with the lone exception of Barley’s
comment that she believed the shootings were related to her keeping Sandoval’s
car after they broke up). A police report was redacted to conceal Shawn Lindsey’s
name and physical description, thereby hiding this witness from the defense. The
unredacted report was included in the files given to the CIU, albeit misfiled in the
wrong homicide file.

3. Leola Marlow and her daughter were interviewed. Marlow now suffers from
dementia, but she remembers that day hearing shots, gathering her grandchildren
inside, then seeing the suspect run from the alley into the awaiting car. OIC
Jimenez drove her to court, and they discussed details of the case. Her daughter
confirms that Marlowe was still very competent when she viewed the shooter, but
that at some point in the ensuing days (date unknown), Marlowe became very
afraid of getting involved na homicide investigation. We believe that fear of the
real perpetrators caused her to alter her initial (truthful) account that she thought
she could identify both men (shooter and driver) as she had seen them before. She
knew Ansari and the shooter was not Ansari.

4 | interviewed Shawn Lindsey as well as several agents and officers who
interviewed him immediately after the (9/22) Cicotte killing. He does not

Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.701 Filed 03/18/22 Page 10 of 18

remember much, if anything, about the incident. There were a lot of crimes in his
neighborhood, he always tried to be cooperative with police, and absolutely would
have told them the truth back then. “If they said I said it, ] said it.” Border Patrol
Special Agent Mark Hall and DPD Officer Aref Algarrafi recall the incident well
and together they quoted Lindsey as saying that a heavy set black male came
running east in the alley, and hopped into the passenger seat of a gold Pontiac four
door, which then drove north on Gilbert, toward the 1-94 freeway, which would
have been the most expedient escape route. At any retrial, this evidence would be
admissible even in the absence of current memory by Lindsey.

5. interviewed the dispatch officer, Steven Ford, who took the original radio call
from patrol officer Tracy Moreno. Moreno told Ford that minutes after the Cicotte
homicide, Rosalind Barley ~ in a clear excited utterance/present sense
impression/Crawford-admissible statement — described a heavy set, black male

shooter.

6. Using all of the foregoing information, in three separate visits to the scene, we
retraced the path used by the car associated (by the DEA tracker) with Sandoval on
9/19/12 through 9/23/12. See Diagram. Itis difficult to fathom how Sandoval was
not involved in this killing after undertaking that exercise. Combining the data
regarding the BMW tracker path and dates with what we know about where
suspects Solo (per the CI), Larry Davis and Tyrone Applewhite lived in September
of 2012, itis CIU’s theory that Sandoval may have practiced picking one or more
of them up, showed them Figueroa’s house, the vacant house where the shooter
hid, and instructed the driver on the getaway route — eastbound from Cicotte in the
alley, northbound to 1-94 — all in the lead up to the 9/22/12 killing. It is further our
theory that after the 9/22/12 killing, Sandoval passed by a wounded Figueroa who
had fled to a block east of the shooting, and that Sandoval would have killed
Figueroa there but for the presence of a Good Samaritan.

7. I followed up on information/email excerpts found in the homicide file from
Homeland Security Investigation agents, Joshua Banas and Antonio Galvin. They
had interviewed a Cl shortly after the two killings' who explained that the
homicides were in retaliation for Barley and Figueroa stealing 3.5 kilograms of
heroin from Sandoval. They generated a report of investigation from that
interview and emailed other law enforcement in October, 2012, including DPD.

' The agents confirmed that the informant quoted by Detective Jimenez (see interview below)
would not have been the same person as their Cl.

9

Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.702 Filed 03/18/22 Page 11 of 18

After much resistance by Homeland Security legal counsel, Judge Levy ordered
those documents produced to CMS and the AG under a protective order. There
was a key discrepancy between Galvin’s notes and the email-train excerpt found in
the DPD Homicide file (it appears in the file as a Word document, not an actual
email). Galvin says that the CI never gave the description of 5'7", 170 pounds
(which would have fit Ansari). After review of the train, the error appears to be
Banas’s error, not DPD’s. Banas did include the 5'7"/170 pound description in his
email, however, it is unknown where that come from.

8. | investigated all evidence linking Sandoval cars to these murders. He leased a
erey Volkswagen Golf and a blue BMW on 9/11/12 from a person who was
cooperating with DEA at the time. A tracker was put on both cars. The tracker on
the BMW was “hard wired” to the car’s battery, while the Golf had a “slap on”
tracker. The appearance of the Golf would be consistent with Marlowe and
Lindsey’s account, with Lindsey seeing the front of the Golf (which looks like a
sedan), and Marlowe looking at the back of the Golf (which looks more like an
SUV). A grey-silver car could appear as gold at sunset. Marlowe saw an hispanic
male in the driver seat, which fits Lester. There is a summary of the tracker data
on the BMW, which DEA agents remember generating (they recognize their own
handwriting). The BMW data itself has been destroyed. There were four slap-on
trackers assigned to this DEA squad in 2012. Agent Brown is committed to
locating the ID # assigned to the tracker on the Golf in 2012, which would then
permit the DEA’s tech person to locate the Golf tracker data in the DEA’s server.
Tracker data showing both cars moving in tandem near the 9/22 homicide scene
when it was occurring would be powerfully incriminating as to Sandoval.

9. | interviewed the widow of the deceased, Tommy Edwards, in the second case,
Erika Flores. She feels like everyone kept her in the dark about who was really to
blame for Tommy’s murder, and as to why this all happened. She tried to speak to
Rosalind Barley after Tommy was killed, and Barley claimed (very
unconvincingly) that she knew nothing. They never spoke again. She continues to
believe that Barley is behind all this, and she has not forgiven her. She had heard
that Barley and Figueroa had done “something” to Sandoval and that this was the
reason for the “hits on the family”. She would not be surprised at all if it was the

theft of heroin reported.

Tommy invested in a bar five months before his death. She does not believe that
Tommy would have participated in stealing heroin from someone as dangerous as
Sandoval (“Tommy was a steady, sensible guy”), and Flores does not believe that’s

where the money came from that he used to invest in the bar. Flores’ account of
10

Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.703 Filed 03/18/22 Page 12 of 18

Tommy coming home to Otis Street that night and leaving to go to visit Figueroa
in the hospital is consistent with the Sandoval phone evidence and the timing of the
homicide. The shooter and getaway driver arrived during a very small window,
when Tommy would be there and they could get a clear shot. Tommy clearly
knew in advance that he, Flores and the children were potential targets. (A 9/28/12
text tip from family member “Kristina”, wife of Tommy’s brother Mike, said that
Sandoval would kill the whole family, one by one). Tommy had moved Flores out
of their Otis home after the 9/22 killing. Flores got tired of living away from home
with the children, and she insisted on returning to Otis. Tommy met them there,
and he was killed within 1.5 hours of his return. (Tommy texted a person named
“Blaze” that he was on his way from Otis to the hospital. This phone is linked to a
person named Randall Anderson of Riverview. Flores could probably tell us who
this is. He texted Tommy often).

Flores is still very close with Irez Vega, the mother of Tommy and Figueroa.
Flores considers Vega “family”. After our initial interview, Flores told Vega, and
Vega texted OIC Jimenez. In our second interview, Flores admitted that she did

this.

10. T reached out to Rosalind Barley’s last known contact, her grandmother. She
and Barley’s aunt were adamant. “Our family has been through hell. We lost
someone very dear to us at a very young age. We don’t care if [Ansari] did it. We
don’t care if he didn’t do it. We don’t give a **** what you do. Leave us alone.
Never call anyone in our family again.”

CIU interview with OIC Jimenez:

Moses Jimenez was assigned as OIC early on to both homicide cases. He recalled
Googling Jose Sandoval, and then initiating contact with the federal authorities
during the first few days, but he agrees that all communication then stopped fairly
quickly. According to Jimenez, even though he knew about the tracker
information putting Sandoval near the scene, because he didn’t have a witness ID,
he wouldn’t have been able to get an arrest arrant on Sandoval. However, he used
next to nothing of the abundant information that was available from the federal
investigation. Asked about whether or not he was interested in the Sandoval Title
IH] phone intercepts, he said he didn’t want to know anything about the phones. At
one point during our interview of him, he said that he had family in Mexico, and he
“didn’t want to end up on the witness stand in the federal case” because he
believed that the Mexican drug cartel people would kill his family in Mexico. This
statement, however, is inconsistent with AUSA Bill Sauget’s report (and that of

11

Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.704 Filed 03/18/22 Page 13 of 18

DEA Craig Michelin) that Jimenez showed up, (no one remembers summoning
him there), to Sandoval’s federal detention hearing, deliberately (and perhaps
unnecessarily) showing himself to Sandoval and/or his attorney. Sandoval was not
being charged with homicide in the federal case.

Jimenez claimed that he had a meeting with a “high level” drug source after the
killings. This person said that the killings were in retaliation for the theft of 3.5
kilograms of raw heroin from Sandoval (consistent with the Banas-Galvin Cl
information). This person also assured Jimenez that the killings now were done —
no one else would be killed.

Jimenez was shown the DPD police reports of the Lindsey contact, and he had no
explanation for not contacting Lindsey. Prior to being shown the report, he
explained (and had testified) that as OIC, one of his main responsibilities was to
gather up all reports and to conduct follow-up interviews with witnesses.

CIU interview with Alexandre Ansari:

Mr. Ansari is, and was, about 175 Ibs, 5'11. He is not “heavy”. He has no history
of violence. A criminal history check shows only misdemeanor and dismissed
cases. He lived and “worked” in the Southwest Detroit area. He admitted that
prior to his arrest, he rented a motel room at the Victory Inn on Michigan Avenue
where he sold drugs and allowed prostitutes (his “friends”) to turn tricks there.
When the Victory Inn closed, he tried to do the same thing a little further down on
Michigan Ave, with less success. He owned a small home elsewhere in Detroit
where he lived with his then-fiancé and her children. Ansari, who had already
passed a Jim Hoppe polygraph by the time we interviewed him, appeared
genuinely perplexed and clueless as to how he had even been charged. He knows
none of these people — a fact confirmed by our extensive investigation. Ansari has
struggled with ADHD and was diagnosed with bipolar disorder, but was
cooperative and coherent during our interview. Ansari admitted (then and now)
that his nickname is “Sosa”, but there does not appear to be any genuine
connection between that name and the actual shooter. That nickname came only
from an anonymous tip that wasn’t particularly credible. Ansari did, and does,
have spiky dread locks which resemble those in the Figueroa composite drawing.
However, according to Leola Marlow, the shooter likely wore a wig or some other
kind of head covering which he pulled off and stuffed during his escape.
Therefore, the dread locks — so significant to the identification of Ansari — are
likely a red herring.

12
Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.705 Filed 03/18/22 Page 14 of 18

Months prior to either shooting, Ansari’s right hand was injured (confirmed by
medical records) . It is not fully functional, and the injury would have made it
difficult to maneuver an AK 47 (or other long gun) in the manner described by the
victims. For so many reasons, he would not be anyone’s choice for a hit man.

Asked why he thought he was identified by witnesses, he recalled only that he
walked down Cicotte Street once wearing red (he likes red, he has no gang
affiliation) and the people there gave him the “evil eye”. We note that in the past,
Ansari lived on Tommy’s street, approximately six blocks east.

13
Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.706 Filed 03/18/22 Page 15 of 18

CIU Recommendation:

Given an abundance of new evidence demonstrating Ansari’s innocence, and his
passing of a polygraph exam, he should be exonerated in this case. Even if only
the Shawn Lindsey new information is taken into account, relief in the form of a
new trial would be warranted. Lindsey would have been a pivotal defense witness.
However, there is so much more here demonstrating innocence.

Ansari’s trial was the proverbial “tip of the iceberg” of the information actually
available to state-federal law enforcement. Ansari was convicted based upon the
anonymous Sosa tip (with all inconsistent information excised), and the Barley-
Figueroa [D’s. The former was untrustworthy and inadmissible under Crawford,
and the latter are untrustworthy based upon what we now know. At trial, the
prosecution ridiculed the defense and Leola Marlow’s apparently truthful account,
arguing as to her description of the fleeing shooter, that because shooting often
erupted in this neighborhood, she must be confused. That argument would not
have been available to the prosecution had Shawn Lindsey, Special Border Agent
Mark Hall, and DPD Officer Aref Algarrafi testified about Lindsey at trial. They
provide a continuous connection from the shooting to what Marlowe saw. She was
not confused. Moreover, Shawn Lindsey appears to be a very credible witness: he
was not related to anyone involved in this case, he never talked to Marlowe about
this, he is conscientious, and his account ties closely (and believably) with
Marlowe’s, with each recounting what they saw from their unique vantage points,
viewing the fleeing shooter, the getaway, and the getaway car. Marlowe and
Lindsey, together, powerfully refute the other questionable identifications of
Ansari — they saw a 300-pound black male. Ansari looks nothing like that.
Marlow said she knew Ansari, and the shooter was not Ansari. Figueroa and
Barley, in contrast, have never told the truth about this whole situation. Their
identifications are clouded by their own interest in self preservation.

There are considerable concerns that this case was not investigated adequately,
which ultimately resulted in the conviction of an innocent person, three other very
dangerous persons escaping punishment, and our office failing the many victims in
this case. Worse, the unique special interests of both the OIC (Jimenez) and the
star witnesses (Figueroa and Barley) suggest that the investigation was being
deliberately diverted away from the truth, either actively (by Figueroa and Barley),
or by inaction (Jimenez). As to the latter, OIC Jimenez’s own statements suggest a
deliberate abandonment of his responsibility — either to investigate Sandoval

Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.707 Filed 03/18/22 Page 16 of 18

himself in a diligent fashion, or to acknowledge that an irreconcilable conflict of
interest prevented him from doing so.

There is ample evidence to warrant continued investigation by the WCPO
homicide unit, or federal authorities, toward a possible prosecution of Jose
Sandoval, the getaway driver, and the real shooter(s), although prosecution of the
latter will likely be extremely difficult in light of the earlier ID’s of Ansari. OIC
Jimenez should not be involved in any further investigation or prosecution of the
case. WCPO should work more cooperatively with federal authorities on this case
going forward, and on other cases in the future.

i5

Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.708 Filed 03/18/22 Page 17 of 18

Overview of CIU findings relating to Moises Jimenez:

The OIC in this case, Moises Jimenez, has now admitted to deliberately avoiding
available investigative methods as to Jose Sandoval because Sandoval is tied to a
powerful Mexican drug cartel, Jimenez has family in Mexico, and Jimenez feared
his family would be killed. This bias, in turn, distorted every aspect of the truth-

finding process.

- concealing from the defense a crucial defense witness who saw the 300-
pound shooter (who looks nothing like Ansari), jumping into getaway car
on 9/22/12, fleeing the scene consistent with other evidence;

- deliberately failing to investigate, or even review, available phone
evidence which could have (and did, according to CIU investigation) put
Sandoval at the scene of getaway route, and in contact with the likely
getaway driver, and which contained a digital photograph of a heavy set
black male, sent by a heavy set black male shortly after the second
homicide;

- deliberately failing to show arrays of key perpetrator suspects to reliable
scene witnesses;
- advising jurors of an anonymous Crime Stoppers tip that the shooter’s
nickname was “Sosa”, that Ansari’s nickname was Sosa, but excising all
information from the tip that was inconsistent with Ansari;

- injecting himself, in hallway of a federal detention hearing, telegraphing
advice to Sandoval’s attorney, that he should plead to a drug conspiracy
quickly (possibly to help Sandoval avoid having the homicide added to
the indictment),

- deliberately failing to work with, and actively steering the case away from
an army of federal law enforcement officials who were trying to assist
DPD in apprehending the perpetrators.

a

In addition, victims Barley and Figueroa are now believed also to have been
sabotaging the investigation: concealing their theft of Sandoval’s heroin, and
deliberately throwing off the investigation of the real perpetrators by offering
bogus descriptions, and [D’s, of the shooter,
Case 2:20-cv-10719-SJM-DRG ECF No. 51-2, PagelD.709 Filed 03/18/22 Page 18 of 18

Our CIU investigation dovetails with an extensive 2012 federal investigation of
Sandoval, involving DEA, U.S. Attorneys, ICE, FBI, and Border Patrol — all of
whom have now been interviewed by the CIU. DEA had Sandoval on a car
“tracker” which monitored his movements in and around the route of the getaway
cat on 9/22/12 demonstrating to us that while he may not have been the getaway
driver, he was clearly orchestrating every aspect of this killing. Tracker data is
also consistent with phone data, demonstrating that Sandoval was in the vicinity
and appeared to be talking to other likely perpetrators in the lead up to, and in the
aftermath of, both killings.

